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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:04CR316
                                             )
              Plaintiff,                     )
                                             )
              vs.                            )                    ORDER
                                             )
RICHARD GARZA,                               )
                                             )
              Defendant.                     )

       This matter is before the Court on the motion filed by defense counsel to withdraw

(Filing No. 279).

       IT IS ORDERED:

       1.     The motion filed by defense counsel to withdraw (Filing No. 279) is granted;

              and

       2.     The Clerk shall mail a copy of this Order to the Defendant to: Reg. No.

              19668-047, P.O. Box 1010, Bastrop, TX 78602.

       DATED this 11th day of April, 2008.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 United States District Judge
